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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 20-CIV-21964-CMA

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,
   v.

   TCA FUND MANAGEMENT GROUP CORP.,
   et al.,
               Defendants.
   ______________________________________/

   ORDER GRANTING RECEIVER’S FIRST INTERIM OMNIBUS APPLICATION FOR
   ALLOWANCE AND PAYMENT OF PROFESSIONAL FEES AND REIMBURSEMENT
           OF EXPENSES FOR MAY 11, 2020 THROUGH JUNE 30, 2020

          THIS CAUSE having come before the Court upon Jonathan E. Perlman, Esq.’s, as court-

  appointed Receiver (the “Receiver”) over the Receivership Defendants TCA Fund Management

  Group Corp. (“TCA”) and TCA Global Credit Fund GP, Ltd. (“GP”), and Relief Defendants TCA

  Global Credit Fund, LP (“Feeder Fund LP”), TCA Global Credit Fund, Ltd., TCA Global Lending

  Corp. (“Global Lending”), and TCA Global Credit Master Fund, LP (“Master Fund”) First Interim

  Omnibus Application for Allowance and Payment of Professional Fees and Reimbursement of

  Expenses For May 11, 2020 Through June 30, 2020 (the “First Application”), filed on August 28,

  2020.

          The Court has considered the First Application and being otherwise fully advised in the

  premises, it is

          ADJUDGED that the motion is GRANTED. The First Application is APPROVED.

          ADJUDGED that the Receiver and Genovese Joblove & Battista, P.A.’s fees of

  $526,362.30 and expenses of $4,974.34 are APPROVED. The Receiver is authorized to pay
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  Genovese Joblove & Battista, P.A. the sum of $426,064.18, representing 80% of the approved fees

  ($526,362.30) and 100% of expenses ($4,974.34) earned during the First Application period of

  May 11, 2020 through June 30, 2020, with the remaining 20% of the approved fees to be paid out

  at the discretion of the Court as part of the final fee application submitted at the close of the

  receivership.

          ADJUDGED that Collas Crill’s fees of $242,384.62 are APPROVED. The Receiver is

  authorized to pay Collas Crill $193,907.70, representing 80% of the approved fees ($242,384.62)

  earned during the First Application period of May 11, 2020 through June 30, 2020, with the

  remaining 20% of the approved fees to be paid out at the discretion of the Court as part of the

  final fee application submitted at the close of the receivership.

          ADJUDGED that Yip Associates’ fees of $22,433.00 are APPROVED. The Receiver is

  authorized to pay Yip Associates $17,946.40, representing 80% of the approved fees ($22,433.00)

  earned during the First Application period of May 11, 2020 through June 30, 2020, with the

  remaining 20% of the approved fees to be paid out at the discretion of the Court as part of the

  final fee application submitted at the close of the receivership.

          ADJUDGED that the Development Specialist Inc.’s fees of $147,488.20 and expenses of

  $73.95 are APPROVED. The Receiver is authorized to pay Development Specialists, Inc. the sum

  of $118,064.51, representing 80% of the approved fees ($147,488.20) and 100% of expenses

  ($73.95) earned during the First Application period of May 11, 2020 through June 30, 2020, with

  the remaining 20% of the approved fees to be paid out at the discretion of the Court as part of

  the final fee application submitted at the close of the receivership.

          ADJUDGED that Rehmann’s fees of $35,819.00 are APPROVED. The Receiver is

  authorized to pay Rehmann $28,655.20, representing 80% of the approved fees ($35,819.00) earned



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  during the First Application period of May 11, 2020 through June 30, 2020, with the remaining

  20% of the approved fees to be paid out at the discretion of the Court as part of the final fee

  application submitted at the close of the receivership.

           ADJUDGED that E-Hounds, Inc.’s fees of $25,428.00 are APPROVED. The Receiver

  is authorized to pay E-Hounds, Inc. $20,342.40, representing 80% of the approved fees

  ($25,428.00) earned during the First Application period of May 11, 2020 through June 30, 2020,

  with the remaining 20% of the approved fees to be paid out at the discretion of the Court as part

  of the final fee application submitted at the close of the receivership.

           DONE and ORDERED in ____________ at Miami, Florida this ___ day ___________,

   2020.

                                                       ____________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE


   Copies furnished to all counsel of record




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